                       UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION


UNITED STATES OF AMERICA                     )       DOCKET NO. 3:06CR88-W
                                             )
              v.                             )       ORDER FOR DISMISSAL
                                             )
EVONDA CHANETTE PIERCE                       )


       Leave of Court is hereby granted for the dismissal of the Second Superseding Bill of

Indictment in the above-captioned case against Evonda Chanette Pierce without prejudice.

       The Clerk is directed to certify copies of this Order to the U.S. Probation Office, U.S.

Marshall Service and the United States Attorney's Office.

                                                 Signed: March 30, 2007




    Case 3:06-cr-00088-FDW-SCR             Document 65        Filed 03/30/07      Page 1 of 1
